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D.C.

 

UNITED STATES DISTRICT COURT F"-EO B`\’

WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 HAY 20 PH lie 30

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CLEHK. U.S. DlST CT.
UNITED STATES OF AMERICA W. D. OF TN JACKSON

-vs- Case No. 1:04cr10095-001T

NICHOLAS DEANTHONY MARTIN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, MAY 24, 2005 at 2:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 407, Fourth Floor, United States Courthouse and Federal Building,
1 ll South Highland, Jackson, TN . Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Mayzo, 2005 <5,,7/; /’
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

’If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 l42(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officers own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (81‘85) Order of Tem;:¢<:»raryl Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CR-10095 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

J ames W. Powell

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Honorable J ames Todd
US DISTRICT COURT

